     Case 2:23-ap-01173-VZ          Doc 60 Filed 10/21/24 Entered 10/21/24 12:38:11                        Desc
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 6                                                                                CLERK U.S. BANKRUPTCY COURT
                                                                                  Central District of California
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 8                                  UNITED STATES BANKRUPTCY COURT

 9                  CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

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      In re: Spectrum Link, Inc.,                                Case No.: 2:21-bk-16403-VZ
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                                                  Debtor(s),     Chapter: 7
12    Howard M Ehrenberg, Chapter 7 Trustee,
                                                                 Adversary No.: 2:23-ap-01173-VZ
13                                               Plaintiff(s),
                                                                 ORDER GRANTING MOTION TO REOPEN
14                                                        Vs.    ADVERSARY PROCEEDING

15    Millennium Marketing Concepts Inc., a California           [No hearing required: LBR 5010-1, 9013-1(q)]
      corporation, et al.
16
                                              Defendant(s).
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             Alex Mukathe filed a motion to reopen this adversary proceeding on September 28, 2024 (“Motion to
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     Reopen,” docket #49) and a motion to vacate default judgment on October 3, 2024 (“Motion to Vacate,” docket
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     #53) and set hearings on October 24, 2024 at 11:00 a.m. Pursuant to LBR 5010-1 and 9013-1(q), a Motion to
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     Reopen may be granted without a hearing. Good cause appearing, IT IS ORDERED: (1) the Motion to Reopen is
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     GRANTED and (2) the hearing on the Motion to Vacate will take place on October 24, 2024 at 11:00 a.m.
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           Date: October 21, 2024
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